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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                      CRIMINAL ACTION

VERSUS                                                                                    No. 07-408

DAMON BURKHALTER                                                                         SECTION I

                                       TRANSFER ORDER

        Defendant, Damon Burkhalter, has filed a motion to vacate, set aside, or correct a sentence

pursuant to 28 U.S.C. § 2255 in which he is challenging the constitutionality of his 2008 sentence.

To support his challenge, defendant asserts the following grounds for relief:

        1)     The application of the career offender provision and 21 U.S.C. § 851 violated
               his Sixth Amendment rights.

        A review of this Court’s record reflects that defendant has filed a prior § 2255 motion related

to this same sentence. In that motion, filed March 16, 2011, defendant raised the following grounds

for relief:

        1)     “Counsel provided ineffective assistance, leading to the entering of an invalid
               plea.”

        2)     Counsel was ineffective at sentencing for “failing to request a reasonable
               sen[t]ence under 3553.”


That motion was dismissed with prejudice on the merits by Judgment entered March 24, 2011. The

U.S. Court of Appeals for the Fifth Circuit denied defendant’s motion for a certificate of

appealability. (R. Doc. No. 202).

        The motion presently before the Court is considered to be a second or successive motion as

described in 28 U.S.C. §§ 2244 and 2255. In order to overcome the prohibition against the filing
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of second or successive claims, the defendant must establish that the motion contains one of the

following requirements:

       1)      claims based on newly discovered evidence that, if proven and viewed in
               light of the evidence as a whole, would be sufficient to establish by clear and
               convincing evidence that no reasonable factfinder would have found the
               defendant guilty of the offense; or

       2)      claims based on a new rule of constitutional law, made retroactive to cases
               on collateral review by the Supreme Court, that was previously unavailable.

28 U.S.C. § 2255.

       Before the motion can be considered on the merits by this District Court, the defendant must

obtain certification from the United States Fifth Circuit Court of Appeals to file this second or

successive motion by making a prima facie showing of the above listed requirements to that

appellate court as required by § 2255. Until such time as defendant obtains said certification, this

Court is without jurisdiction to proceed. Accordingly,

       IT IS ORDERED that defendant’s motion be construed in part as a motion for certification

for the District Court to consider the second or successive claims raised therein.

       IT IS FURTHER ORDERED that this motion be and hereby is TRANSFERRED to the

United States Fifth Circuit Court of Appeals under the authority of 28 U.S.C. § 1631 for that Court

to determine whether petitioner is authorized under 28 U.S.C. § 2244 and § 2255 to file the instant

motion to vacate in this District Court.



       New Orleans, Louisiana, August 9, 2013.



                                                      ____________________________________
                                                           LANCE M. AFRICK
                                                      UNITED STATES DISTRICT JUDGE
